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                              UNITED STATES DISTRlCT COURT
                              EASTERN DISTRJCT OF MISSOURI
                                    EASTERN DIVISION -

  UNITED STATES OF AMERlCA,                           )
                                                      )
        Plaintiff,                                    )
                                                      )
  V.
                                                    )     No. 4:21-cr-00532-SEP
  GEORGE REED,                                      )
                                                   ')
        Defendant.                                  )
                                                    )

                                 GillLTY PLEA AGREEMENT

           Come now the parties and hereby agree, as follows:

 1. PARTIES:

       The parties are the defendant George Reed, represented by defense counsel Marc Johnson,

 and the United States of America (hereinafter "United States" or "Government"), represented

 by the Office of the United States Attorney for the Eastern District of Missouri. This agreement

 does not, and is not intended to, bind any governmental office or agericy other than the United

· States Attorney for the Eastern District of Missouri. The Court is neither a party to nor bound
                                                                                                    '

 by this agreement.

 2. GillLTY PLEA:

          Pursuant to Rule 11 (c)(1 )(A), Federal Rules of Criminal Procedure, in exchange for the

 defendant: s voluntary plea of guilty to Count 3 of the charge, the Government agrees to move

 for the dismissal as to the defendant of Counts 1, 2, 4, 5, 6, 7, 8 and 9 at the time of sentencing.

 Moreover, the United States agrees that no further federal prosecution will be brought in this



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 District relative to the defendant's PPP loan fraud and money laundering during the time period

 alleged in the Indictment ofwhich·the Government is aware at this time.

         in addition, the parties agree that the U.S. Sentencing Guidelines Total Offense Level
 analysis agreed to by the parties herein is the result of negotiation and led, in part, to the guilty

 plea. The parties further agree that either party may request a sentence above or below the U.S.

 Sentencing duidelines range (combination of Total Offense Level and Criminal History

 Category) ultimately determined by the Court pursuant to any chapter of the Guidelines and

 Title _18, United States Code, Section 3553(a). The parties further agree that notice of any such

 request will be given no later than ten days prior to sentencing and that said notice shall specify

 the legal and factual bases for the request.

       · The defendant also agrees, pursuant to the guilty plea to Count 3 to forfeit to the
                                                   '
 United States all property subject to forfeiture under the applicable statute(s), including but

 not limited to, assets identified in the forfeiture allegation of the Indictment.

 3.. ELEMENTS:

         As to Count 3, the defendant admits to knowingly violating Title 18, United States Code,

 Sections 1344 and 2, and admits there is a factual basis for the plea and further fully understands

 that the elements of the crime are: .

         One, the defendant, aiding and abetting, and aided and abetted by, co-defendant

 Christopher Carroll, knowingly participated in a scheme to obtain any moneys or funds under

 the custody and control of a financial institution by means of material false or :fraudulent

 representations or promises;




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        Two, the defendant did so with intent to defraud; and

        Three, the financial institution was insured by the Federal Deposit Insurance

 Corporation.

 4. FACTS:

        The parties agree that the facts in this case are as follows and that the government would·
           /




 prove these facts beyond a reasonable doubt if the case were to go to trial. These facts may be

 considered as relevant conduct pursuant to Section lB 1.3:

        From in or about _March 2020 through at least as late as in or about March 2021,

 Defendant Christopher Carroll ("Defendant Carroll") and Defendant George Reed ("Defendant'

 Reed") sought and obtained funds from the Paycheck Protection Program by means of material

 misrepresentations, to. wit, that they would use those funds to retain workers and maintain

 payroll, when in truth and fact, the Defendants used portions of the loan proceeds to acquire

 assets, including vehicles at).d land, and to fund deposit~ into the_ Defend.ants' personal bank

 accounts and did not in fact use all of the funds for permissible expenses, including to retain or

 compensate all of their employees.

        Defendants Carroll and Reed acted as and identified themselves to be the owners of a

 timeshare exit company called Square One Group, LLC ("SOG"). Defendants Carroll and Reed

 jointly made business decisions regarding the management of SOG assets and funds. SOG
                                                      I


 maintained multiple bank accounts at Enterprise Bank and Trust ("Enterprise Bank"), including

 account ***0058 and_apcount ***1234. Enterprise Bank was a financial institution within the

 meaning of Title 18, United States Code,§§ 20 and 1344, the deposits of which were insured

 by the Federal Deposit Insurance Corporatio_n.

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        In or about early April 2020, Defendant Carroll, in consultation with Defendant Reed

 ("Defendant Reed"), directed SOG's Director of Finance, MT, to apply for a Paycheck

 Protection Program ("PPP") loan through Enterprise Bank, the financial institution where SOG

 had its operating accounts. At Defendant Carroll's and Reed's direction, MT omitted the names

 of Defendant Carroll and Defendant Reed from the loan application, despite the fact that ·

 Defendants Carroll and Reed acted as SQG's owners and identified themselves as SOG's

 owners. Both Defendants Carroll and Reed had felony convictions, and Defendant Carroll was
                          I
 on parole in connec~ion with a felony conviction. If Defendants Carroll and Reed had been

 listed as owners or applicants on the application, they would have been obligated to check "yes"
                                                        I                 .




 in response to questions ori the application regarding whether Defendant Carroll was serving a

 term of parole.

        In the First Draw PPP loan application, Defendants Carroll and Reed caused MT to

 certify on behalf of SOG that PPP loan funds would "be used to retain workers and maintain

 P?-yroll." "Payroll" was defined as to include, inter alia, commissions and payments for the

 provision of employee health insurance,
                                .   .
                                         including
                                              .
                                                   premiums. This representation was false.

 Defendants Carroll and Reed did not intend to use PPP loan funds exclusively to retain workers

 and commissioned employees' payroll by paying wages or salary in lieu of unearned

 commissions. After SOG's loan application was approved, the First Draw PPP loan proceeds

 in the amount of $1,247,800.00 were deposited into SOG's Enterprise Bank account ***0058

 on May 1, 2020 ("First Draw PPP loan proceeds"). Contrary to the representation made in the

 loan application, in April, May and June of 2020, Defendants Carroll and Reed paid no

 compensation to a significant number of SOG's commissioned employees, despite SOG's

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     receipt of First' Draw PPP loan proceeds.     Further, on April _27, 2020, Defendant Carroll

     terminated the health insurance benefits of at least 17 of SOG's employees, despite SOG's

     receipt of First Draw PPP loan proceeds. If Defendants Carroll and Reed had used the First

     Draw PPP loan proceeds as requited by law, no suspension of employee compensation should

     have occurred in April, May and June of 2020, nor should employee health insurance benefits

     have been terminated.

             After the deposit of the First Draw PPP loan proceeds, beginning on May 15, 2020 and

     continuing through June 2020, Defendants Carroll and Reed spent $1.9 million from the SOG

     operating account ***0058 to acquire trucks, trailers, and land to start three new businesses

     unrelated to SOG's tim(;:)share exit business. The three new businesses were Whiskey Dix Big

     Truck Repair, Square One Logistics and Square One Transport. Without the deposit of $1.2

     million in First Draw PPP Loan funds, SOG would not have been able to fund all of the three

     unrelated businesses without using funds held in reserve by credit card companies. Specifically,

     SOG would have been 'unable to fund the entirety of their capital purchases for the three new

     trucking businesses.

            On November 24, 2020, Defendant Reed, with the knowledge and concurrence of

'    J:?.efendant Carroll, completed and submitted an application for forgiveness of the full amount
                            \

     of SOG's $1,247,800.00 First Draw PPP loan. In SOG's First Draw PPP loan forgiveness

     application, Defendant Reed falsely indicated that SOG. had "not reduced the number of

     employees or the average paid hours of their employees between January 1, 2020 and the end

     of the Covered Period," despite the fact that, as Defendants Carroll and Reed knew, SOG had

     furloughed many of its sales force, suspended the furloughed employees' compensation for a

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 period of more than two months, and terminated health insurance benefits of at least 17

 employees, despite SOG's receipt of First Draw PPP loan proceeds. If Defendants Carroll and

 Reed had used the First Draw PPP loan proceeds as required by law, then SOG would not have

 reduced the number of employees or the average paid hours of their employees between January

 1, 2020 and the end of the Covered Period.

        On or about January 21, 2021, Defendant Reed, with the knowledge of and in

 consultation with Defendant Carroll, caused the submission to Enterprise Bank of a Second

 Draw PPP Loan application on behalf of SOG attesting that prior the disbursement of any funds

 pursuant to the Second Draw, "the full amount of the First Draw PPP loan (including any

 increase) of the First Draw Paycheck Protection Program Loan for permitted expenses." This

 representation was false. · Defendant Reed knowingly submitted a false certification in the

 Secorid J?raw PPP Loan applic~tion that SOG would use the Second Draw PPP loan funds "to

 retain workers and maintain payroll." On Match 1, 2021, $1,663,830.00 in PPP loan proceeds

 was deposited into SOG's Enterprise Bank account ***0058 ("Second Draw PPP Loan

 proceeds").

        On March 5, 2021, four days after the deposit of the Second Draw PPP Loan proceeds,

 Defendant Carroll cashed a $160,000.00 "owner draw" check drawn on Enterprise account

 ***0058. On March 12, 2021, Defendant Carroll received a $250,000.00 "owner ,draw" wire

 transfer from Enterprise Bank account ***0058 into his personal bank account. On March 12,

 2021, Defendant Reed received a $250,000.00 "owner draw" wire transfer from Enterprise

 Bank account ***0058 into his personal bank account. Without the deposit of the Second Draw
               .            .                           I                       .

 PPP Loan proceeds, SOG did not have sufficient funds in Enterprise Bank account ***0058 to

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    fund $660,000.00 in owner draws over a seven-day period paid out to Defendants Carroll and

    Reed.

            In or about March 2022, after Defendant Reed and Defendant Carroll were charged

    criminally in this matter, Defendant Reed was interviewed by law enforcement officials.

    Beginning in May 2022, Defendant Reed and his wife, LAR, received threatening text messages

    from Defendant Carroll. On or about May 1, 2022, Defendant Reed's driveway was vandalized.

    On or about May 15, 2022, the street in front of Defendant Reed's home was vandalized. On

    or about May 31, 2022, Defendant Carroll caused the termination of the health insurance

    benefits ofLAR, Defendi:mt Reed's spouse, without providing prior notice to either Defendant

i   Reed or to LAR. LAR only learned of the termination of her health insurance benefits when

    she attempted to seek medical attention and was informed by the medical provider that' her

    health insurance coverage had been terminated.

    5. STATUTORY PENALTIES:

            The defendant fully understands . thatr the maximum possible penalty provided by law

    for the crime to which the defendant is pleading guilty is imprisonment of not more than 30

    years, a fine of not more than $1,000,000, or both such imprisonment and fine. The Court

    may also impose a period of supervised release of not more than 3 years.

    6. U.S. SENTENCING GUIDELINES (2021 MANUAL):

            The defendant understands that this offense is affected by the U.S. Sentencing

    Guidelines and the actual sentencing range is determined by both the Total Offense Level and

    the Criminal History Category. The parties agree that the following are the applicable U.S.

    Sentencing Guidelines Total Offense Level provisions.

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          a. Chapter 2 Offense Conduct:

          (1) Base Offense Level: The parties agree that the base offense level is 7, as found in

 Section 2Bl.l(a)(l).

          (2) Specific Offense Characteristics: The parties agree that the following ·specific

 Offense Characteristics apply:
      (
          The parties disagree as to the loss associated with the offense and reserve the right to

 advocate regarding the applicable loss amount at the time of sentencing. U.S.S.G.

 § 2Bl.l(b)(l).

          The partis disagree as to whether two levels should be added pursuant to Section

 2Bl.2(b)(l2) because the offense involved conduct described in 18 U.S.C. § 1040 and reserve

 the right to advocate regarding the applicable this enhancement at the time of sentencing.

          b. Chapter 3 Adjustments:

                  (1) Acceptance of Responsil:>ility: The parties agree that, depending on the

 total offense level, either two or three levels should be deducted pursuant to Section 3El.l(a)

 and/or (b), because the defendant has clearly demonstrated acceptance of responsibility and

 timely notified the government of the defendant's intention to plead guilty. The parties agree

 that the defendant's eligibility for this deduction is based upon information presently known. If

 subsequent to the taking of the guilty plea the government receives Iiew evidence of statements
                                                                    ',
                                                                         .   /
 or conduct by the defendant which it believes are inconsistent with defendant's eligibility for

 this deduction, the government may present said evidence to the court, and argue that the

 defendant should not receive all or part of the deduction




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         d. Estimated Total Offense Level: The parties disagree as to the total estimated

 offense level.

         e. Criminal History: The determination of the defendant's Criminal History Category

 shall be left to the Court. Either party may challenge, before and at sentencing, the finding of

 the Present~nce Report as to the defendant's criminal history and the applicable category. The
                                  r

 defendant's criminal history is knQwn to the defendant and is substantially available in the

 Pretrial Services Report.

         f. Effect of Parties' U.S. Sentencing Guidelines Analysis: The parties agree that the
                              !       J




 Court is not bound by the Guidelines analysis agreed to herein. The parties !Ilay not have

 foreseen all applicable Guidelines. The Court may, in its discretion, apply or not apply any
                  /



 Guideline despite the agreement herein and the parties shall not be permitted to_ withdraw from

 the plea agreement.

 7. WAIVER OF APPEAL AND .POST-CONVICTION RIGHTS:

         a. Appeal: The defendant has been fully apprised by defense counsel of the defendant's

 rights concerning appeal and fully understands the right to appeal the sentence under Title 18,

 United States Code, Section 3742.

                      (1) Non-Sentencing Issues: The parties waive all rights to appeal all non-

 jurisdictional, non~sentencing issues, including, but not limited to, any issues relating to pretrial

 motions, discovery, the guilty plea, the constitutionality of the statute(s) to which defendant is

 pleading guilty and whether defendant's conduct falls within the scope of the statute(s).

                  (2) Sentencing Issues: The parties disagree as to the loss amount in the present

 matter, and will litigate that issue at sentencing. The parties agree to abide by the district court's

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      determination of that issue, and specifically waive their rights to appeal the district court's

      ruling resulting in the calculation of the Total Offense Level. In the event theI Court accepts the
                                             '
      plea, and after determining the appropriate Total Offense Level, sentences the defendant within

      or below the corresponding range, then, as a part of this agreement, the defendant hereby waives

      all rights to appeal all sentencing issues other than Criminal History, but only if it affects the

      Base Offense Level or Criminal History Category. Similarly, the Government hereby waives

      all rights to appeal all sentencing issues othe~ than Criminal History, provided the Court accepts

      the,, plea, and after determining the appropriate. Total Offense Level, sentences the defendant
                                                                          .




      within or above the corresponding range.

             b. Habeas Corpus: · The defendant agrees to waive all rights to contest the conviction

      or sentence in any post-conviction proceeding, including one pursuant to Title 28, United.. States

      Code, Section 2255, except for claims of prosecutorial misconduct or ineffective assistance of

      counsel.

             c. Right to Records: The defendant waives all rights, whether asserted directly or by

      a representative, to request from any department or agency of the United States any records
                                                                                                     '"'
      pertaining to the investigation or prosecution of this case, including any records that may be

      sou?ht under the Freedom oflnformation Act, Title 5, United States Code, .Section 522, or the

      Privacy Act, Title 5, United States Code, Section 552(a).

      8. OTHER:

             a. Disclosures Required by the United States Probation Office: The defendant

      agrees to truthfully complete and sign forms as required by the United States Probation Office




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  prior to sentencing and consents to the release o_f these forms and any supporting documentation

  by the United States Probation Office to the government.

         b. Civil or Administrative Actions not Barred; Effect. on Other Governmental

  Agencies: Nothing contained herein limits the rights and authority of the United States to take

  any civil, tax, immigration/deportation or administrative action against the defendant.

         c. Supervised Release: Pursuant to any supervised release term, the Court will impose

  standard conditions upon the defendant and may impose special conditions related to the crime
                 r                                                                       '
  defendant committed.      These conditions will be restrictions on the defendant to which the

  defendant will be required to adhere. Violation of the conditions of supervised release resulting

 in revocation may require the defendant to serve a term of imprisonment equal to the length of

 the term of supervised release, but not greater than the term set forth iri Title 18, United States

 Code, Section 3583(e)(3), without credit for the time served after release. The defendant

 understands that_ parole has been abolished

         d. Mandatory Special Assessment: Pursuant to Title 18, United States Code, Section

 3013, the Court is required to-impose a mandatory special assessment of $100 per count for a

 total of $100, which the defendant agrees to pay at the time of sentencing. Money paid by the

 defendant toward any restitution· or fine imposed by the Court shall be first used to pay any

 unpaid mandatory special assessment.

         e. Possibility of Detention: The defendant may be subject to immediate detention

 pursuant to the provisions of Title 18, United States Code, Section 3143.

         f. Fines, Restitution and Costs of Incarceration and Supervision: The Court may

 impose a fine, restitution (in addition to any penalty authorized by law), costs of incarceration

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  and costs of supervision. The defendant agrees that any fine or restitution imposed by the Court

  will be due and payable immediately. Pursuant to Title 18, United States Code, Section 3663A,

  an order ofrestitution is mandatory for all crimes listed in Section 3663A(c}. Regardless of the

 Count of conviction, the amount of mandatory restitution imposed shall include all amounts

  allowed by Section 3663A(b) and the amount of loss agreed to by t~e parties, including all

 relevant conduct loss. The defendant agrees to provide full restitution to all victims of all

 charges in the indictment:

                 g. Forfeiture: The defendant knowingly and voluntarily waives any right, title,

 and interest in all items seized by law enforcerrient officials during the course of their

 investigation, whether or not they are subject to forfeiture; and agrees not to contest the vesting

 of title of such items in the United States. The defendant agrees to abandon his interest in all

 seized items and further agrees that said items may be disposed of or destroyed by law

 enforcement officials in any manner without further notice. By abandoning these items, the

 defendant waives any future rights to receive additional notice, a valuation of the items, or the

 opportunity to submit a claim to contest theI, disposition or destruction of the items that may

 exist under any policies or procedures of the seizing agency(ies). The defendant agrees to the

 forfeiture of all items identified in the Forfeiture Allegation of the Indictment.

         9. ACKNOWLEDGMENT AND WAIVER OF THE DEFENDANT'S RIGHTS:

         In pleading guilty, the defendant acknowledges, fully understands and hereby waives

 his rights, including but not
                            I
                               limited to: the right to plead not guilty to the charges; the right to

 be tried by a jury in a public and speedy trial; the right to file pretrial motions, including motions

 to suppress or exclude evidence; the right at such trial to a presumption of innocence; the right

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 to require the government to prove the elements of th~ offenses against the defendant beyond a

 reasonable doubt; the right not to testify; the right not to pn~-sent any evidence; the right to be

 protected from compelled self-incrimination; the right at trial to confront and cross-examine

 adverse witnesses; the right to testify and present evidence and the· right to compel the

 attendance of witnesses.      The defendant further understands that by this guilty plea, the

 defendant expressly waives all the rights set forth in this paragraph.

        The defendant fully understands that the defendant has the right to be represented by

 counsel, and if necessary, to have the Court appoint counsel at trial and at every other stage of

 the proceeding. The defendant's counsel has explained these rights and the consequences of the

 waiver of these rights. The defendant fully understands that, as a result of the guilty plea, no,

 trial will, in fact, occur and that the only_ action remaining to be taken in. this case is the

 imposition of the sentence.

        The defendant is fully satisfied with the representation received from defense counsel.

 The defendant has reviewed the government's evidence and discussed the government's case

 and all possible defenses and defense witnesses with defense counsel. Defense· counsel has

 completely· and satisfactorily explored all areas which the defendant has requested relative to

 the government's case and any defenses.

        The guilty plea could impact defendant's immigration status or result in deportation. In

 particular, if any crime to which defendant is pleading guilty is an "aggravated felony" as

 defined by Title 8, United States Code, Section 1101 (a)(43), removal or deportation is presumed

 mandatory.     Defense counsel has advised the defendant of the possible immigration

 consequences, including deportation, resulting from the plea.

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  10. VOLUNTARY NATURE OF THE GUILTY PLEA AND PLEA AGREEMENT:

            This document constitutes the entir,; agreement between the defendant and the

  government, and no other promises or inducements have been made, directly or indirectly, by

  any agent of the government, including' any Department of Justice attorney, concerning any

  plea to be entered in this case. In addition, the defendant states that no person'has, directly or ·

  indirectly, threatened or coerced the defendant to do or refrain from doing anything in

  connection with any aspect of this case, including entering a plea of guilty.

            The defendant acknowledges having voluntarily entered into both the plea agreement

 and the guilty plea. The defendant further acknowledges that this guilty plea is made of the

 defendant's own free will and that the defendant is, in fact, guilty.

 11. CONSEQUENCES OF POST-PLEA MISCONDUCT:

            After pleading guilty and before sentencing, if defendant commits any crime, other than
                                                                                                         \
 minor traffic offenses, violates any condition of release that results in revocation, violates any
        .                                                                                         '
 term of this guilty plea agreement, intentionally 'provides misleading, incomplete or untruthful
                                                                                         .   (_



 information to the U.S. Probation Office or fails to appear for sentencing, the United State~, at

 its option, may be released from its obligations under this agreement. The Government may

 also, in its discretion, proceed with this agreement and may advocate for any sentencing position

 supported by the facts, including but not limited to obstruction of justice and denial of

 acceptance of responsibility.

 12. NO RIGHT TO WITHDRAW GUILTY PLEA:

        . Pursuant to Rule ll(c) and (d), Federal Rules of Criminal Proc~dure, the defendant

 understands that there will be no right to withdraw the plea entered under this agreement, except

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  where the Court rejects those portions of the plea agreement which deal with charges the
                    '
  government agrees to dismiss or not to bring.




                                                        wendolyn E. Carroll
                                                       Assistant United State




         Date




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